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     KRISTY M. Kellogg, #271250
 2   400 Capitol Mall, Suite 1620
     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                 )
 8   UNITED STATES OF AMERICA,                   )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                        )
                                                 )   STIPULATION AND ORDER TO
10         v.                                    )   AMEND CONDITIONS OF PRETRIAL
                                                 )   RELEASE
11   JORGE VEGA-MACIAS,                          )
              Defendant.                         )
12                                               )
13                                               )

14
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     conditions of pretrial release are amended. Previously, an employment condition was
16
     ordered. However, Pretrial Services indicated that since Mr. Vega-Macias is not a United
17
     States citizen such condition should be removed. The amended conditions of pretrial
18
     release have been attached and labeled Exhibit A. Justin Lee, Assistant United States
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     Attorney, and Thomas A. Johnson, attorney for Jorge Vega-Macias, agree to the
20
     amendment of pretrial release conditions.
21
22
     IT IS SO STIPULATED.
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24
     Dated: July 19, 2016                                   /s/ Thomas A. Johnson
25                                                          THOMAS A. JOHNSON
26
                                                            Attorney for Jorge Vega-Macias

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 1
                                                     PHILLIP A. TALBERT
                                                    Acting United States Attorney
 2   Dated: July 19, 2016                           /s/ Thomas A. Johnson for
                                                    JUSTIN LEE
 3
                                                    Assistant U.S. Attorney
 4
 5
                                       ORDER
 6
 7
     IT IS SO ORDERED.
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 9   Dated: July 19, 2016
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